                   IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           STATESVILLE DIVISION
                           DOCKET NO.: 5:15CR71-RLV
UNITED STATES OF AMERICA             )
                                     )
      v.                             ) ORDER TO DISMISS THE INDICTMENT
                                     )
(3) ALEJANDRO RAUL CANAS-RAMIREZ     )

_________________________________________


         Leave of Court is hereby granted for the dismissal without prejudice of the First

 Superseding Bill of Indictment against only defendant Alejandro Raul Canas-Ramirez, who is

 charged in Counts 1, 10, 11, 12, and 13.

         The Clerk is directed to certify copies of this Order to the U.S. Probation Office, U.S.

 Marshal’s Service, and the United States Attorney's Office.


Signed: September 8, 2016




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